         Case 2:24-cv-09379-SPG-SK                      Document 10         Filed 11/01/24      Page 1 of 3 Page ID
                                                               #:64
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

KEAVENY DRUG, INC., individually and on behalf of                   )
      a class of those similarly situated,                          )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 2:24-cv-9379 - SPG (SKx)
                                                                    )
 GOODRX, INC.; GOODRX HOLDINGS, INC.; CVS                           )
  CAREMARK CORP.; EXPRESS SCRIPTS, INC.;                            )
 MEDIMPACT HEALTHCARE SYSTEMS, INC.; and                            )
     NAVITUS HEALTH SOLUTIONS, LLC                                  )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) GoodRx, Inc.
                                           2701 Olympic Boulevard, West Building
                                           Suite 200
                                           Santa Monica, California, 90404

                                           SEE ATTACHMENT A FOR ADDITIONAL DEFENDANTS


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Bobby Pouya (Bar No. 245527)
                                           PEARSON WARSHAW, LLP
                                           15165 Ventura Boulevard, Suite 400
                                           Sherman Oaks, CA 91403



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:       11/1/2024
                                                                                         Signature of Clerk or Depu
                                                                                                               Deputy
                                                                                                                 puu Clerk
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 Civil Action No. 2:24-cv-9379

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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                                      #:66



                          Attachment A to Summons

                               List of Defendants


GoodRx Holdings, Inc.
2701 Olympic Boulevard, West Building
Suite 200,
Santa Monica, CA, 90404

CVS Caremark Corp.
One CVS Drive,
Woonsocket, RI, 02895

Express Scripts, Inc.
One Express Way,
Saint Louis, Missouri, 63121

MedImpact Healthcare Systems, Inc.
10181 Scripts Gateway Court
San Diego, CA 92131

Navitus Health Solutions//&
361 Integrity Drive
Madison, WI 53717
